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                             UNITED STATES DISTRICT COURT,2CENTRAL
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                                                                              CALIFORNIA
                                                                             CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                   [8J NO              0 YES
        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                               [8J NO              0 YES
        If yes, list case number(s):

                              If yes, you must file a Notice of Related Cases. See Local Rule 83-1.3.


        Civil cases are related when they (check all that apply):

              D A. Arise from the same or a closely related transaction, happening, or event;
              D B. Call for determination of the same or substantially related or similar questions of law and fact; or
              D C. For other reasons would entail substantial duplication of labor if heard by different judges.
        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.


        A civil forfeiture case and a criminal case are related when they (check all that apply):

              □     A. Arise from the same or a closely related transaction, happening, or event;

              □     B. Call for determination of the same or substantially related or similar questions of law and fact; or

              □     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.

X. STATEWIDE OR NATIONWIDE RELIEF: Does this case seek to bar or mandate enforcement of a state or federal law and seek declaratory
       or injunctive relief on a statewide or nationwide basis?
                                                                                                                                               [8J NO              0 YES
                              If yes, see Local Rule 83-11 for additional requirements.



XI. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): ��                                 �r                                                               DATE:         June 20, 2024

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).



Key to Statistical codes relating to Social Security Cases:
     Nature of Suit Code       Abbreviation                   Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                        HIA             include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))
        862                        BL              All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))

        864                       55ID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                        RSI             All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 u.s.c. 405 (g))


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